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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


DANIEL G. WRIGHT,

                    Petitioner,

v.                                                     Case No. 3:20-cv-777-BJD-JBT

SECRETARY, FLORIDA DEPARTMENT
OF CORRECTIONS,

                Respondent.
__________________________________

                                       ORDER

      In light of Petitioner’s amended sentence, Respondents may file an amended

response by September 17, 2021, and Petitioner must file either a reply to Respondents’

amended response or notify the Court that he does not intend to reply within 90 days of

the filing of the amended response.

      DONE AND ORDERED at Jacksonville, Florida, this 12th day of August, 2021.




caw 8/12
c:
Counsel of Record
